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   11                       UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
   12
   13   AMBER DOE,                                Case No. 2:23-cv-02280-MEMF-SK
   14
                   Plaintiff,                     Hon. Maame Ewusi-Mensah Frimpong
   15                                             Referral: Hon. Steve Kim
             v.
   16
                                                  DEFENDANT MICHAEL LEWIS
   17   MICHAEL LEWIS GOGUEN et al.,              GOGUEN’S EX PARTE
                                                  APPLICATION FOR ORDER
   18
                   Defendants.                    SEALING THE COMPLAINT [ECF
   19                                             NO. 1]
   20
                                                  [[Proposed] Order and Declaration of
   21                                             Kyle Batter submitted concurrently
                                                  herewith]
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                                                                Case No. 2:23-cv-02280-MEMF-SK
                  DEFENDANT MICHAEL LEWIS GOGUEN’S EX PARTE APPLICATION TO SEAL COMPLAINT
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    1                              EX PARTE APPLICATION
    2         TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
    3         PLEASE TAKE NOTICE that, pursuant to Local Rule 7-19, Defendant
    4 Michael Lewis Goguen, hereby applies ex parte for an order sealing the Complaint
    5 (ECF No. 1) filed by Plaintiff Amber Baptiste, styled in the Complaint as “Amber
    6 Doe.” This application is made on the grounds that compelling reasons exists to seal
    7 the Complaint under applicable law, including that its contents violate the express
    8 terms of an active Civil Harassment Restraining Order issued by the San Mateo
    9 Superior Court on March 6, 2023 (the “Restraining Order”). See Declaration of Kyle
   10 Batter, Exhibit A. The Restraining Order expressly prohibits Baptiste from repeating
   11 certain enumerated categories of statements previously ruled to be false and
   12 defamatory concerning Mr. Goguen. As further set forth in the Memorandum of
   13 Points and Authorities below, the Complaint contains numerous statements in clear
   14 violation of the Restraining Order. The presumption of public access attached to a
   15 pleading is overridden where, as here, the “files might have become a vehicle for
   16 improper purposes,” Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978), or
   17 are used to “promote public scandal, circulate libelous statements, or release trade
   18 secrets,” Johnson v. Cnty of San Bernardino, 2021 WL 9720772, at *1 (C.D. Cal.
   19 Mar. 30, 2021) (quoting Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1179
   20 (9th Cir. 2006)).
   21         This ex parte application is made following numerous harassing emails from
   22 Baptiste in violation of the Restraining Order, including sending copies of the
   23 Complaint to numerous individuals in violation of the Restraining Order. Counsel
   24 contacted Baptiste regarding her violations of the Restraining Order and provided
   25 notice of this ex parte application pursuant to Local Rule 7-19, using the email address
   26 listed on the Complaint. Baptiste has not responded as of the time of filing, but
   27 presumably opposes. See Declaration of Kyle Batter, ¶ 9 & Ex. F.
   28

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    1 DATED: April 5, 2023                 QUINN EMANUEL URQUHART &
                                           SULLIVAN, LLP
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    4                                       By /s/ Diane M. Doolittle
    5                                         Attorneys for Defendant Michael Lewis
    6                                         Goguen

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   12    447 F.3d 1172 (9th Cir. 2006) ......................................................................... i, 4, 5
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    1               MEMORANDUM OF POINTS AND AUTHORITIES
    2                           PRELIMINARY STATEMENT
    3        This purported lawsuit is the latest in a long line of harassing and vexatious
    4 proceedings brought by Amber Baptiste (presenting herself to this Court under the
    5 pseudonym “Amber Doe”) against Michael Goguen.              Mr. Goguen respectfully
    6 requests that the Court issue an Order sealing Baptiste’s March 28, 2023 Complaint
    7 (ECF Dkt. No. 1). This relief is necessary and appropriate because the Complaint
    8 constitutes a clear violation of the March 6, 2023 Civil Harassment Restraining Order
    9 issued by the Superior Court of California, San Mateo County (the “Restraining
   10 Order”), which enjoins Baptiste from making eighteen defined categories of “false
   11 and defamatory statements, under her own name or under any pseudonym” that she
   12 had previously made against Mr. Goguen.1           To be sure, this civil action is
   13 substantively and procedurally deficient on numerous grounds and, whether by
   14 motion, order to show cause, or sua sponte action from the Court, is likely to be
   15 dismissed in due course. Indeed, as established by the final judgment entered in the
   16 San Mateo court proceedings, the claims Baptiste attempts to state in the instant
   17 Complaint have been definitively resolved against her. Clear lack of merit aside, the
   18 very existence of Baptiste’s Complaint on this Court’s public docket—broadcasting
   19 salacious, false, defamatory, and debunked allegations concerning Mr. Goguen and
   20 more than 150 other named defendants—will cause, and is causing, irreparable harm
   21 to Mr. Goguen. An Order sealing Baptiste’s Complaint will alleviate that harm and
   22 is supported by “compelling reasons” sufficient to seal a pleading. “Compelling
   23 reasons to seal are generally found where documents, if made part of the public
   24 record, ‘might … become a vehicle for improper purposes.’” Cat Coven LLC v. Shein
   25 Fashion Grp., Inc. 2019 WL 10856813, at *1 (C.D. Cal. Dec. 20, 2019) (quoting
   26
   27
        1
        A copy of the Restraining Order is attached as Exhibit A to the Declaration of Kyle
   28 Batter (“Batter Declaration”), filed concurrently herewith.

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    1 Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978)). Baptiste’s outright
    2 violation of the Restraining Order is such an “improper purpose” that justifies relief.
    3                                    BACKGROUND
    4        On March 8, 2016, Baptiste filed a lawsuit in the San Mateo Superior Court
    5 against Mr. Goguen for breach of contract. Batter Decl. ¶ 4. During that lawsuit,
    6 Baptiste asserted, among other things, that Mr. Goguen was allegedly engaged in
    7 human trafficking, that he allegedly sexually assaulted her and others, and that he
    8 allegedly conspired to commit “murder for hire.” Id. On March 14, 2016, Mr.
    9 Goguen filed a cross-complaint for, among other things, extortion, fraud, and a civil
   10 restraining order against Baptiste. Id. On September 12, 2019, Baptiste’s complaint
   11 was dismissed in its entirety because Baptiste “failed to comply with numerous
   12 discovery orders” and “Baptiste’s failures were willful.” See id., Ex. B, at 30. Mr.
   13 Goguen’s cross claims went forward to trial on October 29, 2019 before the
   14 Honorable Danny Y. Chou. Following a complete trial on the merits, the San Mateo
   15 Superior Court issued its Final Statement of Decision on January 24, 2020, finding
   16 that Baptiste extorted and defrauded Mr. Goguen for $40 million ($10 million of
   17 which Goguen had paid). See id., Ex. C, at 38-39 (Final Statement of Decision). The
   18 San Mateo Superior Court also found in Mr. Goguen’s favor on his claim for the
   19 issuance of a civil harassment restraining order, in which the Court ordered that
   20 Baptiste was restrained “from repeating [eighteen enumerated] false and defamatory
   21 statements.” Id. at 39-40. On March 6, 2023, following Mr. Goguen’s application to
   22 renew and extend the civil harassment restraining order, and for good cause shown,
   23 the San Mateo Superior Court issued the Restraining Order. See id., Ex. A.
   24        The Restraining Order prohibits Baptiste from falsely alleging that: (1) Goguen
   25 purchased Baptiste when she was a young girl from an organized crime syndicate;(2)
   26 Goguen raped, sodomized, or abused Baptiste or any other women; (3) Goguen
   27 infected Baptiste or any other women with a sexually transmitted disease, including
   28 HPV; (4) Goguen kept Baptiste as a sex slave; (5) Goguen tore, ruptured, or perforated

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    1 Baptiste’s anal canal during sex, or that he left her bleeding and unable to evacuate
    2 her bowels; (6) Goguen stalked or harassed Baptiste or any other persons; (7) Goguen
    3 engaged in human trafficking, sex trafficking, sex slavery, or child sex tourism; (8)
    4 Goguen is a pedophile, psychopath, pervert, or sexual deviant; (9) Goguen forced
    5 numerous women to have abortions; (10) Goguen committed or solicited murder; (11)
    6 Goguen bribed the Court, attorneys, or law enforcement; (12) Goguen tampered with
    7 evidence to hide his crimes; (13) Goguen married multiple prostitutes; (14) Goguen
    8 committed tax evasion or tax fraud; (15) Goguen silenced victims through
    9 nondisclosure agreements or any other means; (16) Jamie Goguen is a prostitute; (17)
   10 Jamie Goguen cyberbullies Baptiste or any other rape or trafficking victim; and (18)
   11 Jamie Goguen instructs her friends to make false social media posts about Baptiste.
   12 Id. at “Attachment 11.”
   13        On October 13, 2022, Baptiste filed a “Motion to Vacate Default and Default
   14 Judgment” in the San Mateo Superior Court which, like the Complaint in this action,
   15 was a more than 1,000 page document aggregating and repeating numerous false
   16 allegations about Mr. Goguen that violated the Restraining Order and which had
   17 already been determined to be false and defamatory. Batter Decl. ¶ 7. Following an
   18 application by Mr. Goguen to seal that filing as a violation of the Restraining Order,
   19 the San Mateo Superior Court issued an order sealing portions of the filing on January
   20 6, 2023. See id. Ex. D.
   21        The Complaint in this action was filed on March 28, 2023, only weeks after the
   22 San Mateo court granted Mr. Goguen’s application for the renewed Restraining Order.
   23 See ECF Dkt. No. 1. This retaliatory 1,753-page pro se filing purports to bring claims
   24 against more than 150 named defendants including Mr. Goguen, several of Mr.
   25 Goguen’s companies, Judge Danny Y. Chou of the San Mateo Superior Court,
   26 numerous other San Mateo county judges who issued orders against Baptiste, multiple
   27 law firms and individual lawyers associated with Baptiste’s previous legal actions,
   28 the United States of America, the State of California, and a host of unrelated

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    1 corporations and executives including Microsoft, Oracle, GMC, Apple, Kodak,
    2 Boeing, Honda Motor Company, Elon Musk, Bill Gates, and the World Bank. See id.
    3 at 3-19 (Caption).2 As set forth below, the Complaint and its attachments contain
    4 numerous false allegations about Mr. Goguen that are subject to the Restraining
    5 Order. Since filing this Complaint, Baptiste has begun circulating it via email to
    6 dozens of individuals, further violating the Restraining Order and exacerbating the
    7 harm to Mr. Goguen. See Batter Decl., ¶ 10 & Ex. G.
    8                                       ARGUMENT
    9         Notwithstanding a general presumption of public access to judicial filings, it is
   10 “uncontested . . . that the right to inspect and copy judicial records is not absolute.”
   11 Nixon, 435 U.S. at 598. Rather, “[e]very court has supervisory power over its own
   12 records and files, and access has been denied where court files might have become a
   13 vehicle for improper purposes,” including filings “used to gratify spite or promote
   14 public scandal.” Id. (internal citations omitted). This authority follows from the
   15 bedrock principle that “certain implied powers must necessarily result in our Courts
   16 of justice from the nature of their institution.” Chambers v. NASCO, Inc., 501 U.S.
   17 32, 43 (1991) (internal citations omitted). Where, as here, an application to seal
   18 concerns information in a pleading, courts apply the “compelling reasons” standard.
   19 See, e.g., Geo-Logic Assocs., Inc. v. Metal Recovery Sols., 2020 WL 1469483, at *2
   20 (D. Nev. Mar. 26, 2020). Under that standard, a “party satisfies its burden for sealing
   21 documents … when the party presents compelling reasons supported by specific
   22 factual findings.” Cat Coven LLC, 2019 WL 10856813, at *1 (internal citations
   23 omitted). Compelling reasons “are generally found where documents, if made part of
   24 the public record, ‘might … become a vehicle for improper purposes,’” Id. (quoting
   25
   26   2
         Because the Complaint does not use standardized paragraph numbers and because
   27 the size of the filing required the Clerk’s office to docket it in multiple parts, pin cites
      to the Complaint refer to the “Page ID #:” automatically generated by the Court’s ECF
   28 system. All quotes from the Complaint are presented without “[sic]” indications.

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    1 Nixon, 435 U.S. at 598 (emphasis added)), or where the documents would “promote
    2 public scandal, circulate libelous statements, or release trade secrets,” Johnson v.
    3 Cnty of San Bernardino, 2021 WL 9720772, at *1 (C.D. Cal. Mar. 30, 2021) (quoting
    4 Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1179 (9th Cir. 2006)
    5 (emphasis added)). A court must “articulate the factual basis for its ruling, without
    6 relying on hypothesis or conjecture,” but the decision on whether to seal remains “one
    7 best left to the sound discretion of the trial court, a discretion to be exercised in light
    8 of the relevant facts and circumstances of the particular case.” Hagestad v. Tragesser,
    9 49 F.3d 1430, 1434 (9th Cir. 1995) (internal citations omitted).
   10         Baptiste’s3 Complaint contains a litany of allegations (in addition to
   11 photographs, text messages, and emails—annotated with further false allegations
   12 concerning Mr. Goguen) that clearly violate the Restraining Order.
   13             Whereas the Restraining Order prohibits Batiste from asserting that Mr.
   14                Goguen “raped, sodomized, or abused Baptiste or any other women,”
   15                (Ex. A, at 8) the Complaint asserts that: “[h]e has caused severe and
   16                irreparable injury to Ambers body on multiple occasions” (ECF Dkt. No.
   17                1, at 59); “he is a rapist and a psycho path” (id. at 64-65); “Goguen said
   18                he wanted forgiveness for all the rape abuse and disease” (id. at 68).
   19             Whereas the Restraining Order prohibits Baptiste from asserting that Mr.
   20                Goguen “kept Baptiste as a sex slave,” (Ex. A, at 8) the Complaint asserts
   21                that: “Goguen knew that he would engage in fraudulent Drugging and
   22                raping amber and luring her into Goguen Sex enterprise as his sex slave”
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   24   3
            There is no material dispute that the Plaintiff in this case, self-styled as “Amber
   25   Doe,” is Baptiste. The email address and mailing address provided for Plaintiff
        “Amber Doe” are addresses used by Amber Baptiste in the San Mateo Superior Court
   26   case. See Batter Declaration ¶ 8 & Ex. E. Additionally, although Baptiste omits her
   27   last name in the portions of the Complaint she appears to have written and the case
        caption, the name “Amber Baptiste” appears across the Complaint and its
   28   attachments. See, e.g., ECF Dkt. No. 1 at 526, 528, 1274, 1304, 1324, 1330.
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    1              (ECF Dkt No. 1, at 178); “Goguen Knew her would convert Ambers
    2              naivety and innocence into rape and sexual slavery” (id. at 179), and;
    3              “Goguen began grooming her to be is sex slave in his self proclaimed
    4              harem” (id. at 180).
    5            Whereas the Restraining Order prohibits Baptiste from asserting that Mr.
    6              Goguen “engaged in human trafficking, sex trafficking, sex slavery, or
    7              child sex tourism,” (Ex. A, at 8) the Complaint asserts that: “The Gang
    8              and Michael L. Goguen … were the original traffickers” (ECF Dkt. No.
    9              1, at 55); “Goguen[,] a Sex trafficker by the very definition[,] has
   10              thousands of girls and women transported around the world for the
   11              purposes of rape, commercial sex acts, sexual abuse and intentionally
   12              inflects his slaves with his STDs” (id. at 59); “Michael Goguen is a SEX
   13              TRAFFICKER” (id. at 60), and; “Amber is currently being trafficked
   14              and stalked by all of Goguens lawyers agents and associates” (id. at 69).
   15            Whereas the Restraining Order prohibits Baptiste from asserting that Mr.
   16              Goguen “committed or solicited murder,” (Ex. A, at 8) the Complaint
   17              asserts that: “Michael Goguen solicited Matthew Marshall first for
   18              Amber’s murder” (ECF Dkt. No. 1, at 87); Goguen “[p]lans to murder
   19              Nash” (id. at 341), and; “He is a rapist a trafficker a pedophile and a
   20              serial rapist and a murderer” (id. at 84).
   21            Whereas the Restraining Order prohibits Baptiste from asserting that Mr.
   22              Goguen “bribed the court, attorneys or law enforcement,” (Ex. A, at 8)
   23              the Complaint asserts that: “[police] take bribes from Michael Goguen”
   24              (ECF Dkt. No. 1, at 40); “Michael Goguen believe he can just pay and
   25              make every crime co commits be covered up by government authorities”
   26              (id. at 68), and; “I do not know how much bribe money has been paid by
   27              Goguen … to witnesses” (id. at 90).
   28            And, whereas the Restraining Order prohibits Baptiste from asserting

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    1               that Mr. Goguen “tampered with evidence to hide his crimes,” (Ex. A, at
    2               8) the Complaint Asserts that: “Amber does not know why Michael
    3               Goguen and his agents are tampering with Terrorism lists and US
    4               immigration the CIA the FBI and the Police” (ECF Dkt. No. 1, at 79).
    5        These are just a few of the hundreds of false and defamatory statements in
    6 Baptiste’s Complaint that are expressly enjoined by the Restraining Order. For the
    7 avoidance of any doubt, all of these claims are false. But what matters for purposes
    8 of this application to seal is that they are improper, libelous, and outright prohibited
    9 by the Restraining Order. Sealing the Complaint is necessary to prevent Baptiste from
   10 using the power of this Court’s public docket to spread incendiary claims that have
   11 already been determined to be false and defamatory. Prohibiting Baptiste from openly
   12 flouting the Restraining Order with such claims constitutes a “compelling reason” to
   13 seal. See Johnson, 2021 WL 9720772, at *1; Kamakana 447 F.3d at 1179; Cat Coven
   14 LLC, 2019 WL 10856813, at *1; Nixon, 435 U.S. at 598.
   15        The Superior Court in San Mateo granted a request sealing harassing
   16 information in Baptiste’s similar filing from October 13, 2022. See Batter Decl., Ex.
   17 D (January 6, 2023 Order). Here too, the Complaint should be sealed because there
   18 is no public right of access to documents filed for an improper purpose. See Nixon,
   19 435 U.S. at 598. To the extent the Court may elect to order Baptiste or Mr. Goguen
   20 to later file under seal with proposed redactions, Mr. Goguen respectfully requests
   21 that the Court issue an interim Order sealing the Complaint in its entirety while any
   22 such process is pending to avoid the irreparable harm that will further result from the
   23 ongoing public dissemination of this defamatory filing.
   24                                    CONCLUSION
   25        For the foregoing reasons, Mr. Goguen respectfully requests that the Court
   26 grant this ex parte application to seal the Complaint and direct the Clerk of Court to
   27 seal ECF Dkt. No. 1.
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    1 DATED: April 5, 2023                 QUINN EMANUEL URQUHART &
                                           SULLIVAN, LLP
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                                           By: /s/ Diane M. Doolittle
    4
                                              Diane M. Doolittle
    5                                         Attorneys for Defendant Michael Lewis
    6                                         Goguen

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